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                  IN THE UNITED STATES DISTRICT COURT FOR THE
                         NORTHERN DISTRICT OF FLORIDA
                              GAINESVILLE DIVISION


UNITED STATES OF AMERICA,

v.                                                           CASE NO. 1:04-cr-00006-MP-AK

KENNETH BERNARD MILES,

      Defendant.
___________________________/

                                         ORDER

       This matter is before the Court on Doc. 479, Motion to Continue Sentencing Hearing as

to Kenneth Bernard Miles, filed by the United States. The motion is granted and sentencing is

reset for August 18, 2005 at 3:00 p.m. The sentencing shall coincide with the hearing on Mr.

Miles' alleged violation of supervised release in case number 1:04cr35-MMP.


       DONE AND ORDERED this 7th day of June, 2005


                                     s/Maurice M. Paul
                                Maurice M. Paul, Senior District Judge
